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                                   STATEMENT OF FACTS

        Your affiant, T. Michael Class, Jr., is a Special Agent with the Federal Bureau of
Investigation (“FBI”) and is assigned to the Counterterrorism Division, tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of




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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        After these events on January 6, the FBI received numerous tips from members of the
public concerning the individuals who unlawfully entered the restricted grounds and Capitol
building. I was assigned to investigate a tip that identified a Facebook user with an account named
“Fam Council” as someone who unlawfully entered the Capitol. The person who submitted this
tip had seen pictures of the Facebook user in the Capitol and recognized a logo on the user’s
helmet.

       Through open-source searching, I found the following screenshot of a picture that had been
posted on the “Fam Council” Facebook page:




       I also found the following photo of what appears to be the same person inside the Capitol:




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         My colleagues and I began to investigate the “Fam Council” Facebook account by
conducting open-source searches of “Rodbustars”—the name on the Facebook user’s helmet. We
determined that “Rodbustars” refers to the company Rodbustars, LLC. Open-source searches for
Rodbustars, LLC identified KENE BRIAN LAZO and his wife, Jen Lazo, as the owners of the
company and a phone number ending in -0810 as the business phone number. Records obtained
through legal process showed that at the time of the Capitol riot, the -0810 number connected to a
cell site consistent with providing service to a geographic area inside the Capitol building. Through
investigation we also learned that the phone number ending in -0810 is the phone number listed
on the “Fam Council” Facebook account. Subscriber records from the cellular service provider
identified Jen Lazo, KENE LAZO’s wife, as the account holder for the -0810 phone number.

        Though the Facebook account “Fam Council” was deleted shortly after January 6, the FBI
obtained Facebook records through a search warrant. The returns from Facebook revealed that
LAZO operates the page with his wife, Jen. However, it was LAZO who was posting about going
to Washington, D.C. and being inside the Capitol. For example, on January 3, “Fam Council” says
to another user: “all is good uncle..i will be going [sic] ro washington DC to protest on jan6.” The
user responds “Ok Brian fine.Give my regards to Jen and your kids.” On January 4, one user said
“You look like Superman Brian..stay safe and healthy always.” LAZO responded that he “will be
the only 1 with a boi boi representing asians.” Based on our investigation, I believe the “boi boi”
refers to a Walis Tambo broom, commonly used in the Phillipines. LAZO later posted “…i took a
boi boi to the Capitol and swept the floor literally…” On January 7, the day after the riot, one user
asked “How does it feel being there protesting at the White House Brian? Are you still there right
now?” to which LAZO responded “they still stole it even tho there cheating..it was humbling.”




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        In a separate post on January 5, 2021, LAZO posts multiple photos of himself in the outfit
he planned to wear on January 6, along with his accessories:




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        Several people commented on these photos. After one user suggested LAZO wear a blade
in his boot, LAZO responded that it would be illegal and that he instead would be carrying pepper
spray and a baton. LAZO also commented “if shit hits the fan i will get some dead guys gear and
guns if it comes down to it.”

         LAZO posted photos and videos on January 6, 2021 as well. In the videos, LAZO is
initially outside of the U.S. Capitol and eventually enters and walks into the Rotunda.
Intermitantly, LAZO chants “Our House” and joins in other chants. The following are some of the
photos posted:




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My colleagues and I also located LAZO inside the Capitol on CCTV footage:




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        Finally, I compared the below photo of LAZO, posted on the “Fam Council” Facebook
page, to LAZO’s driver’s license photo and can confirm that the two photos appear to be of the
same person.




        Based on the foregoing, your affiant submits that there is probable cause to believe that
KENE BRIAN LAZO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempt or conspire
to do so.

        Your affiant submits that there is also probable cause to believe that KENE BRIAN LAZO
violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that


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building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                    _________________________________
                                                    T. Michael Class Jr.
                                                    Special Agent
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of May 2021.
                                                                          2021.05.26
                                                                          19:12:17 -04'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    UNITED STATES MAGISTRATE JUDGE




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